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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FRANCIS SCHAEFER COX,           §
                                §
   Plaintiff,                   §
                                §
v.                              § CIVIL ACTION NO. 3:18-CV-3367-B
                                §
BENBELLA BOOKS INC. and WILLIAM §
FULTON,                         §
                                §
   Defendants.                  §


                       MEMORANDUM OPINION AND ORDER

      Before the Court are a litany of dispositive and nondispositive motions:

      (1) Defendant BenBella’s Motion to Dismiss pursuant to Federal Rule of Civil
      Procedure 12(b)(6) (Doc. 10);

      (2) Plaintiff’s Motion for Voluntary Dismissal without prejudice pursuant to Federal
      Rule of Civil Procedure 41(a)(2) (Doc. 19);

      (3) Defendant BenBella’s Motion to Dismiss pursuant to Texas Civil Practices &
      Remedies Code § 27.001, et seq. (Doc. 20);

      (4) Defendant BenBella’s Motion for Hearing (Doc. 21);

      (5) Plaintiff’s Motion to Strike (Doc. 27) Defendant BenBella’s Answer to the
      Complaint (Doc. 16), Motion to Dismiss pursuant to Texas Civil Practices &
      Remedies Code § 27.001 (Doc. 21), and Opposition to Plaintiff’s Motion for
      Voluntary Dismissal (Doc. 23); and

      (6) Plaintiff’s Motion for Sanctions (Doc. 29).

      For the reasons stated below, the Court converts in part Plaintiff’s Motion for Voluntary

Dismissal without prejudice to a dismissal with prejudice and GRANTS the Motion (Doc. 19).



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Specifically, the Court DISMISSES with prejudice Plaintiff’s claims for defamation, defamation per

se, defamation by implication, and intentional infliction of emotional distress based on Defendants’

allegedly defamatory conduct; however, Plaintiff’s claims for misappropriation of name or likeness

and for intentional infliction of emotional distress to the extent that they are not based on

defamatory conduct are DISMISSED without prejudice.

                                                      I.

                                            BACKGROUND

        This dispute involves the publication of an allegedly defamatory and misleading book by

Defendants1 titled “The Blood of Patriots: How I Took Down An Anti-Government Militia with

Beer, Bounty Hunting, and Badassery.” Plaintiff, Schaeffer Cox—who is a character in this book that

chronicles his arrest, trial, and conviction—brought suit on December 20, 2018, against Defendants

based on the publication of this book for defamation, defamation per se, defamation by implication,

intentional infliction of emotional distress, and misappropriation of name or likeness. Doc. 1, Compl.,

1–2. On February 1, 2019, Defendant BenBella filed a Rule 12(b)(6) Motion to Dismiss arguing that

Plaintiff’s defamation-based claims fail because they are barred by the applicable one-year statute of



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  Plaintiff brings suit against Defendant-publisher BenBella Books as well as the author of the book William
Fulton. See Doc. 1, Compl. However, Defendant Fulton has not been served by Plaintiff since Fulton is
allegedly in a witness protection program. Doc. 27, Pl.’s Mot. to Strike, 2. Therefore, Defendant Fulton has
not made an appearance in this case, filed an answer, or joined any of BenBella’s motions discussed in this
Order. Nevertheless, because Plaintiff brings the same claims against both Defendants, and because these
claim fail against Defendant BenBella for the same reasons they would fail against Fulton, the Court dismisses
sua sponte the claims discussed in this Order as to all Defendants, not just Defendant BenBella. See Taylor
v. Acxiom Corp., 612 F.3d 325, 340 (5th Cir. 2010) (“While the district court did dismiss sua sponte some
defendants who did not join the motion to dismiss, there is no prejudice to the plaintiffs in affirming the
judgment in its entirety because the plaintiffs make the same allegations against all defendants.”). Therefore,
unless otherwise stated, the Court’s reference to “Defendants” includes both Defendant BenBella and
Defendant Fulton.

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limitations in Texas and that the remaining claims fail to state a claim. See generally Doc. 10, Def.’s

Rule 12(b)(6) Mot. to Dismiss.

        Instead of filing a response in opposition to Defendant BenBella’s Rule 12(b)(6) Motion to

Dismiss, Plaintiff—conceding that if the book was indeed published on September 19, 2017, Texas’s

one-year statute of limitations would effectively bar his defamation-based claims—filed a Motion for

Voluntary Dismissal under Federal Rule of Civil Procedure 41(a)(2) on March 11, 2019, seeking a

dismissal from this Court of the entire case without prejudice. Doc. 19, Pl.’s Mot. to Dismiss, 1. That

very same day Defendant BenBella filed another Motion to Dismiss under the Texas Civil Practices

& Remedies Code § 27.001, et seq.—also known as Texas’s anti-SLAPP statute—arguing that

Plaintiff’s lawsuit was aimed at chilling Defendants’ speech and thus implicates their First

Amendment rights and is subject to dismissal on this ground as well. See generally Doc. 20, Def’s

Anti-SLAPP Mot. Having been fully briefed on the Motion for Voluntary Dismissal, the Court finds

that it is most just and expeditious to rule on Plaintiff’s Motion for Voluntary Dismissal and thus the

Court focuses on this Motion below.

                                                      II.

                                                ANALYSIS

        Because Defendant BenBella has filed an Answer2 in this case (Doc. 16), Plaintiff’s Motion


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  Plaintiff filed a Motion to Strike under Federal Rule of Civil Procedure 12(f) seeking to have the Court
strike from the record Defendant BenBella’s Answer to the Complaint (Doc. 16), Motion to Dismiss pursuant
to Texas Civil Practices & Remedies Code § 27.001 (Doc. 21), and Opposition to Plaintiff’s Motion for
Voluntary Dismissal (Doc. 23). Doc. 27, Pl.’s Mot. to Strike, 5–6. Plaintiff argues that these filings should be
stuck as redundant and immaterial because Defendant BenBella filed them after being put on notice that
Plaintiff sought to voluntarily dismiss his case. Id. The Court however disagrees. Although Defendant
BenBella filed several pleadings following Plaintiff’s notice that he would seek dismissal of his case, the
pleadings are relevant to the adjudication of this case, address Plaintiff’s attempt to unconditionally dismiss
his case, and are proper litigation avenues provided for by either the Federal Rules of Civil Procedure or the

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to Dismiss is governed by Federal Rule of Civil Procedure 41(a)(2). See Fed. R. Civ. P. 41(a)(1)–(2);

see also Phillips v. Ill. Cent. Gulf R.R., 874 F.2d 985–86 (5th Cir. 1989). Rule 41(a)(2) provides that

“[e]xcept as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s request only by

court order, on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). Furthermore,

‘[u]nless the order states otherwise, a dismissal under this paragraph (2) is without prejudice.” Id.

“The primary purpose in entrusting dismissal to the supervision of the court under Rule 41(a)(2) is

to protect the non-movant from unfair treatment.” Ikospentakis v. Thalassic S.S. Agency, 915 F.2d

176, 177 (5th Cir. 1990). Thus, courts will generally approve voluntary dismissals “unless the

defendant will suffer some plain legal prejudice other than the mere prospect of a second lawsuit.”

Id. The Fifth Circuit has provided a step-by-step process for how courts should handle Rule 41(a)(2)

motions when the non-movant may suffer plain legal prejudice.

A.      Plain Legal Prejudice

        First, “the district court should . . . ask whether an unconditional dismissal will cause the

non-movant to suffer plain legal prejudice.” Elbaor v. Tripath Imaging, Inc., 279 F.3d 314, 317 (5th

Cir. 2002). If no legal prejudice exists, the court should grant the motion “absent some evidence of

abuse by the movant.” Id. Plain legal prejudice exists if dismissal would effectively strip the defendant

from a defense that would otherwise be available—e.g., a statute of limitations defense. Ikospentakis,

915 F.2d at 177–78 (discussing Phillips, 874 F.2d at 984–87).

        Here, Defendant BenBella objects to Plaintiff’s Motion and argues that dismissal under Rule

41(a)(2) would be prejudicial in part because it would lose its one-year statute of limitations defense




Texas Civil Practices & Remedies Code. Therefore, Plaintiff’s Motion to Strike (Doc. 27) is DENIED.

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to Plaintiff’s defamation-based claims provided by Texas law if Plaintiff were to file this case in a

jurisdiction with a longer limitations period. Doc. 23, Def.’s Resp., 2, 5–6. In his Motion, Plaintiff

effectively conceded that his defamation-based claims in Texas are barred by a one-year statute of

limitations.3 See Doc. 19, Pl.’s Mot. to Dismiss, 1 (stating that when he filed his Complaint, “Cox

believed in good faith that the subject publication . . . was published at the end of 2017, which would

have put Cox within the 1-year statute of limitations for libel under Texas law”). In his Reply,

Plaintiff now argues that his defamation-based claims are not time barred because (1) discovery has

not taken place to ascertain the actual date of first publication and (2) because republication of the

allegedly defamatory material has occurred within the one-year statute of limitations. Doc. 30, Pl.’s

Reply, 2.

        Despite Plaintiff’s argument, the Court finds that the one-year statute of limitations is a viable

defense that would bar Plaintiff’s defamation-based claims. The book at issue was published in print

and in digital form on September 17, 2017. Doc. 11, Def.’s App’x, 289. Plaintiff’s Complaint is

devoid of any allegations that the book was altered or republished at a later date, and instead only



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  Plaintiff argues however that a two-year statute of limitations applies to his intentional infliction of
emotional distress claim and misappropriation of name or likeness claims, and thus, those claims are not
time-barred. Doc. 19, Pl.’s Mot. to Dismiss, 1. Although a two-year statute of limitations would typically
apply, Plaintiff’s intentional infliction of emotional distress claim is based entirely on the allegedly defamatory
conduct underlying his defamation-based claims. See Doc. 1, Compl., ¶¶ 86–91 (“defamatory statements
described herein constitute outrageous conduct against Plaintiff”). Thus, to the extent Plaintiff’s intentional
infliction of emotional distress claim is based on Defendants’ allegedly defamatory conduct, it too is time
barred and would thus cause Defendants plain legal prejudice if it were dismissed without prejudice. See
Conley v. Driver, 175 S.W.3d 882, 887 n.4 (Tex. App.—Texarkana 2005, pet. denied) (explaining that
intentional infliction of emotional distress tort cannot be used as an alternative to some other, more
conventional tort which “fits the facts but might be subject to some structural impediment,” such as statute
of limitations or failure to prove elements of a claim). However, Plaintiff’s intentional infliction of emotional
distress claim is dismissed without prejudice to the extent the claim is based on facts independent of his
defamation-based claims.

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raises this argument without any support in his Reply. See Martin v. Local 556, Transp. Workers Union

of Am., AFL-CIO, 2016 WL 2983726, at *1 (N.D. Tex. May 23, 2016) (“th[e] [Northern District]

has long declined to consider arguments raised for the first time in a reply brief”). Thus, the statute

of limitation for libel claims based on the September 2017 publication date was past by the time

Plaintiff filed his Complaint on December 20, 2018. Nationwide Bi-Weekly Admin., Inc. v. Belo Corp.,

512 F.3d 137, 142–43 (5th Cir. 2007) (holding that Texas applies a “single publication rule” to mass

media publications such as books where the statute of limitation period begins to run on the date the

publication is complete).

        Plaintiff’s attempt to now argue in his Reply that the statute of limitations defense does not

apply based on a lack of discovery or a purported republication date is disingenuous based on what

he argued in his original Motion. See Doc. 19, Pl.’s Mot. to Dismiss, 1. First, although the Court finds

that the one-year statute of limitations defense in this case is viable, “whether the defense will

ultimately be successful is not the appropriate inquiry.” See Elbaor, 279 F.3d at 319 (citing

Ikospentakis, 915 F.2d at 179). A plaintiff’s “potential ability to plead around the statute of limitations

is irrelevant.” Id. Thus, the lack of discovery affects the success, not the potential availability of a

statute of limitations defense. And allegations of republication were not raised in the Complaint or

his Motion to Dismiss nor does Plaintiff cite any material to support his republication allegation. Doc.

30, Pl.’s Reply, 2. Because the Court finds that the one-year statute of limitations is a viable defense

that would bar Plaintiff’s defamation-based claims, the question becomes whether an unconditional

dismissal from this Court in light of this finding would amount to plain legal prejudice.

        The seminal case in the Fifth Circuit discussing when clear legal prejudice to a defendant bars

an involuntary dismissal without prejudice is Phillips v. Illinois Central Gulf Railroad. In that case, the

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Fifth Circuit found that the district court’s refusal to dismiss the plaintiff’s case without prejudice

under Rule 41(a)(2) was proper because the plaintiff sought dismissal in part so that he could re-file

in a jurisdiction where the statute of limitations would not bar his claims. Phillips, 874 F.2d at

985–88.

        Although in this case Plaintiff does not disclose where or if he plans to re-file his claims,

Plaintiff only moved to dismiss his case after he realized the statute of limitations issue, and in his

Motion he effectively concedes that many of his claims are time-barred and provides this fact as the

only reason for dismissing his case. See Doc. 19, Pl.’s Mot. to Dismiss, 1 (“with the information set

forth in Defendants’ Motion to Dismiss and Appendix in mind, specifically the Copyright

Registration from the U.S. Copyright Office listing a publication date of September 19, 2017, . . . Cox

has decided to voluntarily dismiss this case.”). However, in his Reply, Plaintiff states that “[w]hether

Plaintiff Cox decides to and will be able to file another Complaint is . . . purely speculative at this

point.” Doc. 30, Pl.’s Reply, 2. Regardless of the fact that the Court does not know where or if

Plaintiff seeks to bring his claims again, the Fifth Circuit has “decline[d] to adopt a rule that allows

a movant to garner a dismissal [without prejudice] by simply refusing to disclose the jurisdiction

where they intend to re-file.” Elbaor, 279 F. 3d at 319. Moreover, the Court is reasonable in inferring

that Plaintiff is seeking voluntary dismissal without prejudice in order to circumvent Defendants’

statute of limitations defense based on the statements made in his Motion. Thus, the Court finds

that Defendants have shown that they would suffer plain legal prejudice as to certain

claims4—Plaintiff’s defamation, defamation per se, defamation by implication, and intentional


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 However, the Court does not find that Defendants have shown that they would suffer plain legal prejudice
as to Plaintiff’s claims for misappropriation of name or likeness and for intentional infliction of emotional

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infliction of emotional distress based on Defendants’ allegedly defamatory conduct—if the Court

granted an unconditional dismissal because such a dismissal would potentially strip Defendants of

a viable statute of limitations defense.

B.      Deny the Motion or Craft Conditions

        Second, “[i]f the district court concludes that granting the motion unconditionally will cause

plain legal prejudice, it has two options, it can deny the motion outright or it can craft conditions

that will cure the prejudice.” Elbaor, 279 F.3d at 317–18. The Fifth Circuit as well as other sister

courts have held that one of the proper conditions is that district courts can “convert” a motion for

Rule 41(a)(2) dismissal without prejudice, granting it with prejudice. Id. at 320 (collecting cases from

other circuits). Those courts reached that conclusion “reasoning either that the district is authorized

to do so as a condition by the ‘terms and conditions’ language in the statute or that the authority is

implicit in the ‘[u]nless otherwise specified’ language of the statute.” Id. However, although district

courts are given “a great deal of leeway in crafting conditions to dismissal, the district court must be

careful to craft conditions that are not overbroad.” Id. (citing Le Compte v. Mr. Chip, Inc., 528 F.2d

601, 604–05 (5th Cir. 1976) (“It seems, therefore, that in ruling on motions for voluntary dismissals,

the district court should impose only those conditions which will alleviate the harm caused to the



distress to the extent that the claim is not based on Defendants’ defamatory conduct even though those
claims may be subject to dismissal under Defendant BenBella’s Anti-SLAPP Motion. See Doc. 23, Def.’s
Resp., 6. First, those claims have a two-year statute of limitations and thus are not subject to the same statute
of limitations defense as the defamation-based claims. Second, Plaintiff’s stated motive for filing his voluntary
dismissal was Defendants’ statute of limitations defense raised in its initial Rule 12(b)(6) Motion and not
Defendants’ Anti-SLAPP Motion. Doc. 19, Pl.’s Mot. to Dismiss, 1; see cf. Heaven v. Chase Home Fin. LLC,
2009 WL 3163546, at *5 (N.D. Tex. Sept. 30, 2009) (denying a plaintiff’s voluntary motion to dismiss in part
because the plaintiff filed her motion in response to a motion for summary judgment). Thus, the Court does
not find that the loss of Defendants’ potential anti-SLAPP defense gives rise to plain legal prejudice to the
same extent that losing a statute of limitations defense does.

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defendant.”)).

        For example, the Fifth Circuit in Elbaor found that the district court did not abuse its

discretion as to the dismissal of some claims when it issued an order converting the plaintiff’s

voluntary dismissal without prejudice, to one with prejudice, because an unconditional dismissal

would have stripped the defendants of a viable statute of limitations defense as to those claims. Id.

at 316, 318. However, the Fifth Circuit also found that the district court abused its discretion in

dismissing some of plaintiff’s claims with prejudice because the defendants did not demonstrate that

they would be prejudiced by the unconditional dismissal of all claims. Id. at 320.

        As discussed above, the Court finds that Defendants have not shown that they would suffer

plain legal prejudice by the unconditional dismissal of Plaintiff’s claims for misappropriation of name

or likeness and for intentional infliction of emotional distress to the extent the claim is not based on

defamatory conduct.5 Therefore, those claims are DISMISSED without prejudice. However,

Plaintiff’s claims for defamation, defamation per se, defamation by implication, and intentional

infliction of emotional distress based on Defendants’ allegedly defamatory conduct are DISMISSED

with prejudice since Defendants have shown that it in light of their viable statute of limitations

defense they would be prejudiced by the unconditional dismissal of those claims.




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  The Court notes that Defendant BenBella also argues that dismissal of any of Plaintiff’s claims without
prejudice would be prejudicial unless the Court were to impose a condition that Plaintiff pay it for its costs
and attorneys’ fees in defending this lawsuit. Doc. 23, Def.’s Resp., 8–9. The Court does not find that an
award of attorneys’ fees and costs to Defendant BenBella is warranted because the majority of Plaintiffs’ claims
have been dismissed with prejudice, Plaintiff and his counsel have not demonstrated any bad faith motive
in bringing this suit, and Plaintiff is indigent and incarcerated in federal prison, therefore, he would likely lack
the financial means to pay these fees.

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                                                 III.

                                          CONCLUSION

       For the above-stated reasons, the Court converts in part Plaintiff’s Motion for Voluntary

Dismissal without prejudice to a Motion for Voluntary Dismissal with prejudice and GRANTS the

Motion (Doc. 19). Specifically, the Court DISMISSES with prejudice Plaintiff’s claims for

defamation, defamation per se, defamation by implication, and intentional infliction of emotional

distress based on Defendants’ allegedly defamatory conduct. However, Plaintiff’s claims for

misappropriation of name or likeness and for intentional infliction of emotional distress to the extent

not based on defamation are DISMISSED without prejudice. Also, for the above stated reasons,

the Court DENIES Plaintiff’s Motion to Strike (Doc. 27). In light of this ruling, the Court DENIES

as moot Defendant BenBella’s Rule 12(b)(6) Motion to Dismiss (Doc. 10), Defendant BenBella’s

Texas Civil Practices & Remedies Code § 27.001 Motion to Dismiss (Doc. 20), Defendant

BenBella’s Motion for Hearing (Doc. 21), and Plaintiff’s Motion for Sanctions (Doc. 29). All relief

not explicitly granted in this Order is hereby denied. Clerk of Court is directed to close this case.

Final judgment to follow.


       SO ORDERED.

       DATED: April 10, 2019.



                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




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